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Grantee                                FY 25 Amount ($)
Grantee 1                                     22,170.00
Grantee 2                                     82,600.00
Grantee 3                                     45,560.00
Grantee 4                                     44,080.00
Grantee 5                                    142,368.00
Grantee 6                                     34,310.00
Grantee 7                                     50,745.00
Grantee 8                                     44,333.00
Grantee 9                                     30,580.00
Grantee 10                                    42,640.00
Grantee 11                                   122,776.00
Grantee 12                                    97,125.00
Grantee 13                                    21,647.00
Grantee 14                                    95,640.00
Grantee 15                                   113,591.00
Grantee 16                                     9,145.00
Grantee 17                                    97,881.00
Grantee 18                                    55,547.00
Grantee 19                                   183,401.00
Grantee 20                                    81,833.00
Grantee 21                                    13,000.00
Grantee 22                                    46,013.00
Grantee 23                                    78,500.00
Grantee 24                                    17,754.00
Grantee 25                                    65,820.00
Grantee 26                                   109,733.00
Grantee 27                                    33,063.00
Grantee 28                                    77,390.00
Grantee 29                                    13,306.00
Grantee 30                                    27,724.00
Grantee 31                                    47,755.00
Grantee 32                                   122,105.00
Grantee 33                                    20,589.00
Grantee 34                                    23,500.00
Grantee 35                                   138,232.00
Grantee 36                                    60,000.00
Grantee 37                                    31,673.00
Grantee 38                                   193,114.00
Grantee 39                                    13,345.00
Grantee 40                                    36,283.00
Grantee 41                                    50,650.00
Grantee 42                                    48,079.00
Grantee 43                                    70,000.00
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Grantee 44                                   47,696.00
Grantee 45                                   41,200.00
Grantee 46                                  265,405.00
Grantee 47                                   69,828.00
Grantee 48                                   18,375.00
Grantee 49                                   49,515.00
Grantee 50                                   85,615.00
Grantee 51                                   41,230.00
Grantee 52                                   41,955.00
Grantee 53                                        0.00
Grantee 54                                   68,106.00
Grantee 55                                   28,100.00
Grantee 56                                   55,000.00
Grantee 57                                   84,966.00
Grantee 58                                    6,168.00
Grantee 59                                   89,300.00
Grantee 60                                   60,000.00
Grantee 61                                  182,221.00
Grantee 62                                  106,950.00
Grantee 63                                   37,600.00
Grantee 64                                   48,650.00
Grantee 65                                   47,317.00
Grantee 66                                   25,320.00
Grantee 67                                   44,688.00
Grantee 68                                  105,332.00
Grantee 69                                   29,613.00
Grantee 70                                   56,235.00
Grantee 71                                   18,000.00
Grantee 72                                   12,975.00
Grantee 73                                   53,967.00
Grantee 74                                   19,940.00
Grantee 75                                   40,250.00
Grantee 76                                        0.00
Grantee 77                                        0.00
Grantee 78                                   55,538.00
Grantee 79                                   64,900.00
Grantee 80                                   45,837.00
Grantee 81                                   20,550.00
Grantee 82                                   25,950.00
Grantee 83                                    4,600.00
Grantee 84                                   47,650.00
Grantee 85                                   90,316.00
Grantee 86                                   53,530.00
Grantee 87                                  114,026.00
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Grantee 88                                53,721.00
Grantee 89                                28,956.00
Grantee 90                                87,420.00
Grantee 91                               197,175.00
Grantee 92                               101,480.00
Grantee 93                                43,366.00
Grantee 94                                71,740.00
Grantee 95                                27,014.00
Grantee 96                               106,849.00
Grantee 97                               224,068.00
Grantee 98                                94,220.00
Grantee 99                                94,573.00
Grantee 100                               47,060.00
Grantee 101                               48,616.00
Grantee 102                               21,440.00
Grantee 103                               62,000.00
Grantee 104                               79,290.00
Grantee 105                               47,300.00
Grantee 106                              181,859.00
Grantee 107                              659,439.00
Grantee 108                               90,860.00
Grantee 109                              239,465.00
Grantee 110                               17,840.00
Grantee 111                               60,000.00
Grantee 112                               20,000.00
Grantee 113                               10,039.00
Grantee 114                               17,555.00
Grantee 115                               56,000.00
Grantee 116                               62,170.00
Grantee 117                              188,381.00
Grantee 118                              113,332.00
Grantee 119                               59,022.00
Grantee 120                              117,569.00
Grantee 121                               43,066.00
Grantee 122                               85,997.00
Grantee 123                               91,174.00
Grantee 124                               23,100.00
Grantee 125                               53,870.00
Grantee 126                               26,668.00
Grantee 127                               75,595.00
Grantee 128                              109,156.00
Grantee 129                               87,000.00
Grantee 130                              110,200.00
Grantee 131                               78,686.00
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Grantee 132                               15,627.00
Grantee 133                               67,818.00
Grantee 134                               29,982.00
Grantee 135                              150,000.00
Grantee 136                               34,600.00
Grantee 137                               19,587.00
Grantee 138                               57,500.00
Grantee 139                               27,150.00
Grantee 140                               10,203.00
Grantee 141                                    0.00
Grantee 142                              243,135.00
Grantee 143                              126,867.00
Grantee 144                               22,790.00
Grantee 145                              402,600.00
Grantee 146                               52,700.00
Grantee 147                               77,778.00
Grantee 148                               61,461.00
Grantee 149                               24,947.00
Grantee 150                               62,250.00
Grantee 151                               32,427.00
Grantee 152                               10,757.00
Grantee 153                               36,500.00
Grantee 154                               61,250.00
Grantee 155                               20,776.00
Grantee 156                               90,206.00
Grantee 157                               20,150.00
Grantee 158                               28,372.00
Grantee 159                               50,190.00
Grantee 160                               37,499.00
Grantee 161                               36,250.00
Grantee 162                               54,620.00
Grantee 163                               59,679.00
Grantee 164                              121,114.00
Grantee 165                               20,830.00
Grantee 166                              109,422.00
Grantee 167                               42,490.00
Grantee 168                               92,656.00
Grantee 169                               90,550.00
Grantee 170                               99,992.00
Grantee 171                               40,600.00
Grantee 172                              239,419.00
Grantee 173                               41,256.00
Grantee 174                               65,800.00
Grantee 175                               63,162.00
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Grantee 176                               24,941.00
Grantee 177                               24,850.00
Grantee 178                               27,766.00
Grantee 179                               32,900.00
Grantee 180                               20,480.00
Grantee 181                              135,991.00
Grantee 182                               19,651.00
Grantee 183                                  250.00
Grantee 184                               63,045.00
Grantee 185                               25,000.00
Grantee 186                               47,000.00
Grantee 187                               32,623.00
Grantee 188                               65,713.00
Grantee 189                               35,946.00
Grantee 190                               29,709.00
Grantee 191                               99,020.00
Grantee 192                               34,030.00
Grantee 193                               20,150.00
Grantee 194                               12,600.00
Grantee 195                               30,744.00
Grantee 196                               90,450.00
Grantee 197                               36,084.00
Grantee 198                               52,805.00
Grantee 199                               51,000.00
Grantee 200                               59,215.00
Grantee 201                               33,696.00
Grantee 202                               53,900.00
Grantee 203                               46,800.00
Grantee 204                               54,448.00
Grantee 205                              164,350.00
Grantee 206                               48,332.00
Grantee 207                               14,398.00
Grantee 208                               51,200.00
Grantee 209                               38,500.00
Grantee 210                                7,000.00
Grantee 211                               35,845.00
Grantee 212                              134,440.00
Grantee 213                               30,280.00
Grantee 214                               12,229.00
Grantee 215                               79,960.00
Grantee 216                               40,277.00
Grantee 217                              149,650.00
Grantee 218                               51,400.00
Grantee 219                                    0.00
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Grantee 220                                46,864.00
Grantee 221                                27,800.00
Grantee 222                                13,146.00
Grantee 223                                87,986.00
Grantee 224                                25,310.00
Grantee 225                                26,727.00
Grantee 226                                50,000.00
Grantee 227                                60,000.00
Grantee 228                               567,954.00
Grantee 229                               236,000.00
Grantee 230                                94,953.00
                                       15,682,715.00
